  Case 4:15-cv-00175-ALM Document 5 Filed 04/15/15 Page 1 of 2 PageID #: 47




                                UNITJW STATES DJSTRJCT COURT
                                    EASTERN DJSTRICT OF TI!:XAS
                                         SliERMAN DIVISION
 F. LISA GONZALES                                  §
            J:'l:tintilf,                          §
                                                   §
                                                   §
 v.                                                §    <.:MJ. ACTION NlJMlJER
                                                   §    NO. 4:15-CV-175
                                                   §
 GEICO GENERJ\.l,INSURAN(;J!:                      §
 COMPANY                                           ~
      Defendant.                                   §


                                l'LAJNTIFJr'S MOTION TO DISMISS

TO THE DONORABJ,R .JUDGE OF SAID COURT:

        NOW COI\IIES, Plaintiff, Elisa Gonzal<:s requesting this Honorab le Court to dismis::;

Complaint Nwnber 4:15-CV-175, IN THR UNITF.D STATES DlSTRlCT COURT FOR TIIE

eASTERN OJ STRICT 01' TEXAS SHERMAN OIVISTON for the t,lfnunds set rorth hcreiD.

        Pluinti11' no lougt:r   dcsi~   to prosecute this suit against Ucfendant, GEICO GeNERAL

INSURANCE COMPANY.

        Plaintiff moves that this Court to dismiss this case wilh prejudice    a.~ to   Ueft:lHiant,

GEICO GRNE.RAL INSIJR.ANCR COMPANY.

        WliERRFORE, Plaintiff, ELISA GONZALES, re:;pectfully requMt that thi, Honorable

Court   di~miss    Complaint Number 4:15-C V-175, 1N THE UNITEU            STATES DTSTRlCT

COURT FOR Tl-ffi F..ASTERN DTSTRICT OF TEXAS SHERMAN Dl VISION, with prejudice.




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  Case 4:15-cv-00175-ALM Document 5 Filed 04/15/15 Page 2 of 2 PageID #: 48




                                          Rcspeclfully submitted,

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                                    By:   /s/ Scott G. Rocbe~
                                          Scoll (i. Robel en
                                          l'edemlllar No.: 870867
                                          Texas State llar No.: 16990045

                                          ATTOR.Nm' FOR PLAINTIFF




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PA.AINTIFJl'S MOTION TO OIS!>U.SS
